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                           UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                    Dallas Division


  CHARLENE CARTER,                                    Civil Case No. 3:17-cv-02278-X

                        Plaintiff,

  V.                                  PLAINTIFF CHARLENE CARTER’S
                                      RESPONSE AND PARTIAL
  SOUTHWEST AIRLINES CO., AND         OBJECTION TO SOUTHWEST
  TRANSPORT WORKERS UNION OF AMERICA, AIRLINES CO. AND TRANSPORT
  LOCAL 556,                          WORKERS UNION OF AMERICA’S
                                      THIRD MOTION TO EXTEND
                   Defendants.        PRETRIAL DEADLINES AND TRIAL
                                      SETTING



   Plaintiff Charlene Carter (“Carter”), through her counsel of record, hereby responds to

Defendant Southwest Airlines Co.’s (“Southwest”) and Transport Workers Union of America,

Local 556’s (“Local 556”) motion to extend the pretrial deadlines and trial setting set forth in the

Court’s February 24, 2022 Amended Scheduling Order (“Amended Scheduling Order”). (Dkt. No.

228).

   The Court should not grant more than a two-month extension unless a longer extension gives

the Court time needed to rule on the pending cross-motions for summary judgment, or the Court

anticipates the parties needing more time for trial preparation based on the current May 30, 2022

Joint Pretrial Order deadline, the June 20, 2022 trial setting, and other trial deadlines.

   The Court may have good cause to stay the trial deadlines or grant more than a two-month

extension, but Carter submits that the parties, at present and by themselves, do not. The Court’s

February 24, 2022 Amended Order states it “will view with disfavor and will deny—absent a

showing of good cause—requests for extensions of [the Amended Order’s] deadlines.” (Dkt. No.

228, p.5, ¶10); (Dkt. No. 212, p.6, ¶15) (same). Southwest and Local 556’s extension request is

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now their third request to postpone trial deadlines since concluding summary judgment briefing.

(Dkt. No. 211) (Oct. 27, 2021);1 (Dkt. No. 220) (Feb. 15, 2022); (Dkt. No. 230) (Apr. 22, 2022).

     Taking into consideration the Court’s disfavor for any extension of the Amended Scheduling

Order’s deadlines and the Court’s possible grounds for good cause, Carter’s counsel informed

Southwest’s counsel that he does not oppose a second two-month extension of the current trial

deadlines.2 Carter agrees there is good cause for extending trial deadlines if it gives the Court time

needed to resolve dispositive motions, as this is a case where there are no disputes of material fact

as to liability and the Court’s decision will focus the issues for trial and avoid unnecessary

expenditures of judicial and party resources. Carter also agrees that there could be good cause for

extending the pre-trial deadlines if it will be necessary to give the parties an adequate time for trial

preparation once the Court rules.

     As Southwest and Local 556 concede, this case has been pending since August 25, 2017. (Dkt.

No. 1). Carter still seeks redress for Defendants’ wrongful termination of her employment for

exercise of her rights under the Railway Labor Act, the union’s breach of the duty of fair

representation for causing her termination, and religious discrimination against her in violation of

Title VII of the Civil Rights Act. Carter has previously addressed Southwest and Local 556’s

history of discovery delays (see e.g., Dkt. No. 139, pp.5-12), and opposes Defendants’ extension

requests to the extent they unnecessarily delay or postpone the trial on damages she seeks in her

partial summary judgment motion. For all of these reasons, Carter opposes extending the current

trial deadlines more than two-months unless a longer extension gives the Court time needed to rule



1
  Carter joined Southwest and Local 556 in the parties’ October 27, 2021 joint motion to extend
trial deadlines. Id.
2
  Contrary to the Defendants’ characterizations, they never advanced a preference for an unlimited
continuance of the trial date in prior motions. (Dkt. No. 211, pp.2-3, ¶ 6); (Dkt. No. 220, p.2, ¶ 6).

                                                   2
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on the pending cross-motions for summary judgment, or the Court anticipates the parties needing

more time for trial preparation based on the current trial deadlines.

   If the Court grants a stay pending its ruling on the parties’ cross-motions for summary

judgment, it should limit Southwest and Local 556’s request to set new trial and pretrial deadlines

“that are at least 90 days after [the Court] has ruled on parties’ summary judgment motions.” (Dkt.

No. 230, p.5, ¶13). Southwest and Local 556 fail to show good cause for restarting pretrial

deadlines 90 days from the time the Court decides summary judgment motions. Even if the Court

has good cause for an extension pending its resolution of the parties’ summary judgment motions,

the parties do not need another 90 days from the time the Court decides those motions just to

prepare their Joint Pre Trial Order. Indeed, Southwest and Local 556 have already demonstrated

they could wait at least 40 days before the current May 30, 2022 Joint Pretrial Order deadline to

seek this extension. (Dkt. No. 228 p.3, ¶4). If the Court grants a stay pending its ruling on the

cross-motions for summary judgment, it should set new pre-trial deadlines that start no more than

60 days after the Court has ruled on the parties’ summary judgment motions.

   For the foregoing reasons, Carter partially objects to Southwest and Local 556’s joint motion

to extend the pretrial deadlines and trial setting. Carter respectfully requests that the Court grant a

two-month extension unless a longer extension gives the Court needed time to resolve the parties’

pending cross-motions for summary judgment or the Court anticipates the parties needing more

time for trial preparation based on the current trial deadlines.

Dated: April 25, 2022                          Respectfully submitted,


                                               s/ Matthew B. Gilliam
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                                     Certificate of Service

   I hereby certify that on April 25, 2022, I electronically filed the foregoing document with the

Clerk of Court by using the CM/ECF system, which will send a notice of electronic filing to all

counsel of record.

                                            s/ Matthew B. Gilliam
